          Case 1:19-vv-00718-UNJ Document 27 Filed 10/16/20 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-0718V
                                        UNPUBLISHED


    SHERRI CHEEK,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: September 14, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.

Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

      On May 16, 2019, Sherri Cheek filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered left shoulder injuries related to vaccine
administration (“SIRVA”) as a result of an influenza vaccination received on November 2,
2017. Petition at 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

       On September 14, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent agrees that “petitioner’s medical course is
consistent with a shoulder injury related to vaccine administration (“SIRVA”) as defined

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:19-vv-00718-UNJ Document 27 Filed 10/16/20 Page 2 of 2




by the Vaccine Injury Table. Specifically, petition had no history of pain, inflammation, or
dysfunction of her left shoulder, pain occurred within 48 hours after receipt of an
intramuscular vaccination, pain was limited to the shoulder where the vaccine was
administered, and no other condition or abnormality, such as brachial neuritis, has been
identified to explain petitioner’s shoulder pain.” Id. at 4. Respondent further agrees that
“based on the medical records outlined above, petitioner suffered the residual effects of
her condition for more than six months. Therefore, based on the record as it now stands,
petitioner has satisfied all legal prerequisites for compensation under the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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